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_ Pro Se [4 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

 

 

UNITED STATES DISTRICT COURT

United States Courts

for the Southern District of Texas
FILED
District of a
_ MAR 30 2020
Division

David J. Bradley, Clerk of Court

Case No.

  

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Plaintiff(s )
(Write the full name of each plaintiff who is filing this complaint.
[fthe names ofall the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

 

~ Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should mor contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits ofa financial account number. :

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

 

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

 

 
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Defendant No. 3
Name
Job or Title (if known)
Shield Number
-~Employer = © © 7 07
Address

Citv State — . , Zip Code
[_] Individual capacity  [_] Official capacity

Defendant No. 4
Name

Job or Title (fknown)

~. .  ._. Shield Number - oo ; ; ee
Employer _ a - ee
Address oe
Civ ‘Sate ~—~—~—“‘ Code™”
[_] Individual capacity [_] Official capacity
II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]. Under Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):

FES

a .
[4 Federal officials (a Bivens claim)

IW State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. -Plaintiffs suing under Bivens may only cecover eee the violation of certain constitutional rights. If you

are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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C. What date and approximate time did the events giving rise to your claim(s) occur? MERAS, |
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D. What are the facts underlying your claim(s)? (For example: What huppened to you? Who did what?

Was anyone else involved? Who else saw what happened?) 2 q S jx |
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Vv. Injuries __ Tes S\epeed inthesaca he Us + yuee Fiest CLCUSEN

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive. Nore , - as Sle ppecl

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VI. Relief Ly Wisin Kni-le -
State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

  

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Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose

D.

concerning the facts relating to this complaint? oll:

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Carex moe ~

“No *\hee Judge Chor

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?
[-] Yes

1 No

E. If you did file a grievance:

1 Where did you file the g griev. vance?
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On Pralic. Le Lendos CHR ae

 

2. What did you claim in your grievance?

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3. What was the result, if any? @-eit¢
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Qasty call 2 2\e

4. What steps, ifany, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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A,

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1.

2

6."

Parties to the previous lawsuit

Plaintiff(s)

Defendant(s) Shoko Zeer a _ - -

~ Court (if if fede “federal court. “name the district; if state court, name the‘ county and State) ©
ASSES Loumbey ee re ee

Docket or index number

BIL I4

 

Name of Pudge assigned to your ¢ case
Qe 3

- Conet

Approximate date of filing lawsuit

3b- oS es fam
Is the casé still pending? ~~ se ce --
[_] Yes
BYNo

If no, give the approximate date of disposition.

 

 

 

What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

tT No

 

 

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

Nowe
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IX. Certification and Closing

- Under Federal Rule of Civil- Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
_----..-_ unnecessary delay,_or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have”
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery: and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

[agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

 

 

Signature of Plaintiff

 

 

 

 

Printed Name of Plaintiff — i AR “area we eR
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Prison Address __J3©0 chen Sf
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B. For Attorneys
_Date of signing: —
Signature of Attorney —
Printed Name of Attorney _ _
Bar Number _
Name of Law Firm oo
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